Case 3:19-cv-08268-DLR Document 28 Filed 02/24/20 Page 1 of 36

STRATICS

Elston L Stephenson (Plaintiff, Pro Se)
Case 3:19-cv-08268-DLR

P.O. Box 129

Grand Canyon, AZ 86023

January 21, 2020 -

U.S. District Court Clerk’s Office

Sandra Day O’Connor U.S. Courthouse, Suite 130
401 W. Washington Street, SPC 1

Phoenix, AZ 85003-2118

Dear Court,

Please receive and consider this Plaintiff's REPLY to U.S. Attorney’s REPLY to Plaintiff's

RESPONSE TO MOTION TO DISMISS in the case of STEPHENSON V DRAPEAUX.

Thank You.

Sincerely,

Elston L Stephenson

REPLY

Your Honor, in U.S. Attorney’s Reply, Counsel lists the Court’s jurisdictions. Respectfully, the Court will
notice that Counsel overlooks the fact that discerning whether or not a party or witness is lying before the Court
is not only the jurisdiction of a/f courts and weighs on whether or not any or all of that party’s or witness’
testimony should be thrown out, but is an indispensable pillar of the entire ‘third branch’ and the American

Justice System itself. Defendant’s many demonstrated instances of materially lying to this Court—perjury (to

which Counsel is now desperately trying to distract) is sufficient grounds to Deny Motion to Dismiss.

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Again, it is respectfully asked that the Court please accept and reference evidence —Exhibits already

before the Court.

Counsel’s Reply argument that “whether or not [Defendant] is untruthful as Plaintiff claims is legally
irrelevant” is not only absurd and wrong, but should be viewed by the Court as a haunting admission of guilt in

his numerous perjuries. Unfortunately U.S. Attorney embraced Defendant without ascertaining his character.
Falsus in uno, falsus in omnibus

Defendant’s testimony is the foundation of his attempt to fend off Plaintiff's restraining order remedy
(Injunction Against Harassment) for his 18USC §2261A stalking and serves as the foundation of his claim of
‘legitimate managerial oversight’ and ‘scope of duties’. Respectfully, then, his truthfulness before this Court
should be thoroughly examined--tested in court. If it is found that Defendant committed perjury, not only should
the Court summarily issue the Injunction remedy or deny Motion to Dismiss, but Defendant should be

prosecuted for perjury.

To briefly review; in Counsel’s Motion to Dismiss Defendant testifies to the U.S. Attorney and the U.S.
Attorney testifies to this Court that “He personally saw the Gov at a coffee shop parking lot an hour away from
the Grand Canyon and contacted Plaintiff inside the shop.” This perjury is easily proved by the fact that an
hour’s drive from Grand Canyon National Park (driving the speed limit) is Holy Dove Chapel, Hwy 180 mile
marker 236, 58.4 miles away (starting at the GRCA intersection of Center Road and Market), a small patch of
private homes, and miles of Coconino Forest (Exhibit X-1). Although the tiny church is unique, picturesque, and
welcoming; no one would mistake it for “a coffee shop”. Plaintiff measured and timed the trip on 2-19-2020.
Defendant should be examined on the stand before this Court to provide the name of the “coffee shop”, provide

a:

the date, describe where and how the vehicle was ‘parked’ when he “saw the GOV in the parking lot” at “a

wd

coffee shop” “an hour away from the Grand Canyon”. Perhaps we could all pile into a van and Defendant can

drive the Court to the “coffee shop” for a re-enactment.

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In Motion to Dismiss Defendant testifies to this Court that “Plaintiff had a history of often using the GOV
without checking it out under proper protocols”. This knowingly deliberate material perjury can easily be
proved. Defendant—Plaintiff’s then-supervisor before he was removed for stalking and never returned, should
be put on the stand and examined as to what those so-called protocols are. As Plaintiff's supervisor, has he ever
required Plaintiff to sign out his vehicle? Did he put the so-called protocols place? If so when? Documentation of
such protocols should be readily available. Can Defendant provide documentation? When was Plaintiff

informed, trained, or educated on them? Are there any such protocols required of Plaintiff to this day?

in Motion to Dismiss Defendant testifies to U.S. Attorney and U.S Attorney testifies to this Court that
Defendant was stalking Plaintiff's home “to check whether or not Plaintiff was misusing a government owned
vehicle (GOV).” Defendant should be put on the stand and examined as to being not only Plaintiff's supervisor,
but Deputy Superintendent of Grand Canyon National Park, why for more than 2 years of knowing Plaintiff
bringing his vehicle home like others in the neighborhood—why didn’t he simply order that the vehicle not be
brought home if it violated any policy or procedure? Where is documentation that Defendant ever notified or
counseled Plaintiff that he could not take the vehicle home as others in the neighborhood did? Did Defendant

stalk or ‘stake out’ their homes as well? How many homes has Defendant ‘staked out’? For what reasons?

in Motion to Dismiss Defendant attempts to hide behind the shield of the ‘suspension’. What Counsel
conceals from the Court is that this ‘suspension’ is also in part the product of fraud as Defendant tried
desperately to build up enough of a case for suspension consistent with other instances of suspension in the
Park. To this end Defendant, even after seeing Plaintiff earlier in the day falsified a charge of AWOL hoping that
it would stick, and even included the outrageous charge of ‘coming to work early’ as a way to fatten up his
suspension proposal. Also, Defendant did not attempt the ‘suspension’ contemporaneously, but waited. The
reason he waited is because he did not dare try it with temporary Superintendent 3 at the helm because he
knew that she would not stand for it. So knowing that Superintendent 4 wouid soon be arriving, so he waited.

He knew that Superintendent 4 would ‘have his back’. But this backing would only go so far.

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in Motion to Dismiss Defendant testifies to U.S. Attorney and U.S Attorney testifies to this Court
that “Defendant...investigated Plaintiff because he had been directed by his own Supervisor”. Your Honor this
perjury is not only easily provable; but may expose others to charges of perjury and suborning perjury. This is
because demonstrably, ‘Defendant’s Supervisor’, Superintendent 4 not only immediately and
contemporaneously filed the DOI/NPS DO-16E Harassment Complaint against Defendant but removed
Defendant as Plaintiff's supervisor instantly when Plaintiff notified him of the stalking. He would not have done
this if he had “directed” the Defendant’s stalking. Evidence already before this Court (Exhibit X-4) clearly
demonstrates that at no time—nearly 3 months of opportunities before Superintendent 4’s departure did he

ever state directing this or take any action consistent with having directed Defendant to stalk Plaintiff's home.

in Motion to Dismiss Defendant testifies to this Court that Plaintiff was disciplined for misuse of his
government vehicle. What was the discipline? When? Like the others, this perjury is easy to prove by simply
ordering Defendant to produce the documentation of such discipline. It does not exist. It does not exist because

Defendant is lying—another count of perjury.

Finally, Motion to Dismiss Defendant testifies that “managers attended classes as part of routine
oversight of its employees” to rebut charges that he inspired others to stalk. If this utterance by Counsel feels to
the Court out oddly of place in Motion—an afterthought, it is because it is a consciousness of guilt tell.
Defendant knows that this is a problem in his story that had to be addressed. This perjury can easily be proved.
First of all, only one manager showed up. Defendant knows the manager. Records—attendance roster show
(Exhibit X-6) that none of the manager’s subordinates (“employees”) attended the training. Therefore, the
manager had no “oversight of its employees”. Defendant knows this. Armed, and posted forbiddingly at the
entrance—even making even the instructors uncomfortable; when confronted by Plaintiff she responded that
she was ordered “to watch” Plaintiff. Not only should Defendant be examined on the stand but so should the

manager. It has to be addressed because Defendant’s inspiring others to stalk had such bizarre consequences.

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Respectfully, the Court will be reminded that also in evidence (Exhibit X-5) is Defendant’s inspiring
others to stalk in this instance to the extent that they so hounded a non-NPS, civilian first aid/CPR instructor—
- going to the extremes of finding her, finding her phone number, then harassing, and hounding her that she was
so afraid that she brought along a former U.S. Army Ranger as an escort, a gun, and a Taser as she conducted

training for her own safety.

Your Honor, there are other questions in these regards which Plaintiff respectfully preserve for when

Defendant is on the stand which will further, indelibly prove this perjures.

Plaintiff appreciates Counsel in Reply taking note of the “voluminous” evidence of deadly dangers
doggedly detected and reported to include video of preventable potentially deadly helicopter accidents, nearly
20 years of uranium exposures, a fleet of dead or dying AEDs representing such risk that the DOI Chief Medical
Officer urged yanking the entire system off the walls and boxed up; the many many frauds ranging in falsified
material sent to OSHA, deleting injured workers form databases (likely insurance fraud), falsifying helicopter
accident investigations, falsifying DOI/16E investigation—just to name a few. “Voluminous” is the evidence of

‘Culture of Fraud’ from which Defendant comes and attempts to bring into this Court—to defraud this Court.

The Court will find that Denying Motion to Dismiss will allow compelling evidence to be brought before
this Court as it keeps coming in. For just a few days ago, 2-17-2020 Plaintiff was provided a map of Grand
Canyon National Park with.colors and of a bull’s eye-like deep red center (Exhibit X-2). The map is entitled
“Surface Gamma Dose Rates”. The center of the bull’s eye is the Ophan Mine where Plaintiff was sent to
chauffer Regional NPS employees as they buried the three 5-gallon buckets of uranium of the ‘uranium incident’
in shallow pits throughout the land in violation of CERCLA law. The dangers of the gamma radiation and his

exposure were concealed from Plaintiff—never revealéd in violation of the law until this past President’s Day.

This Culture of Stalking in retaliation may even extend to currently stalking Plaintiff for appearing before
this Court. When Plaintiff recently return from a month’s long absence on 2-11-2020 Plaintiff found “ISB

Surveillance Van” among the emitters as he attempted to synch his phone to his household WiFi (Exhibit X-3).

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He had never noticed this emitter in the near 3 years of living in this home. He did not notice this emitter before
departing for the trip. Plaintiff Googled “ISB” to find that it stands for Investigative Services Branch. It is the
secretive branch of the National Park Service which conducts surveillance, stakeouts, and spying for the National
Park Service. It is in the Court’s interest to determine if Plaintiff is being targeting with the same ‘surveillance’ —
stalking for appearing before this Court as he has endured for finding and reporting hazards which could kill or

seriously injure workers and visitors of Grand Canyon National Park.

Defendant lies to this Court in the hope of painting this 25-year former senior officer, attack helicopter
pilot, and leader who served 5 years on this Nation’s front lines and product of a culture of Integrity and
protecting others as somehow infamous and fool the Court in to believing he is some sort of ‘crime fighter’.
Counsel never once challenges Plaintiff's pointing out instances of Defendant’s perjuries, or attempts to hold up
to the Court Defendant’s integrity, truthfulness or honor. Plaintiff appreciates that Counsel begins his Answer by
recognizing the “voluminous” instances of fraud in the DOI/NPS ‘Culture of Fraud’ and the many instances
where Plaintiff—arguably one of the top safety professionals and accident investigators—particularly aviation in
the entire NPS doggedly finds and reports dangers which could inarguably hurt of kill Grand Canyon workers and
visitors. Plaintiff respectfully asks that this Court recognizes that Counsel does not ever once attempts to deny a
single one of these. Nor does Counsel attempt to disprove any of the many instances of Defendant’s lying—

perjury. And that If they could have, they would have.

The Court surely recognizes that anyone who would risk the jeopardy of being indicted, tried, convicted,
convicted, and imprisoned for multiple counts of felony perjury must really want to ‘get’ Plaintiff. For anyone
wanting to ‘get’ Plaintiff so badly in front of a federal Court; stalking him in his home, in a forest, where he
enjoys a sense of impunity would seem almost too irresistible. Plaintiff respectfully ask that the Court view

Defendant’s multiple instances of perjury itself as evidence the measure of Defendant’s desire to harm Plaintiff.

The Court surely recognizes that Plaintiff could be charged with perjury if his evidence weren’t true.

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Defendant targeted —wanted to ‘get’ Plaintiff because Plaintiff found and reported those deadly,
embarrassing hazards. They were bad for Defendant and others with their aspirations of promotion. They were
bad for the DOI and NPS—respectfully, why else would You label a map showing a red stream of gamma
radiation crossing a heavily trafficked public footpath and road “Not to be Released. FOIA Protected Document”
if not to hide? Defendant dragged multiple perjuries into this Court out of habit—a sort of immoral muscle
memory because in his DOI/NPS ‘Culture of Fraud’, he always got away with it (except where the DOI IG tagged
him in DOL/G Report 18-1188, Exhibit G). He continued every next time emboldened by not being held
accountable and without consequence for the last. Defendant prays that this Court finally draws the line by
firmly demonstrating that You don’t lie before a federal Court. Even Counsel would agree that that this is in this

Court’s jurisdiction.
Falsus in uno, falsus in omnibus.

In Motion to Dismiss and Reply Counsel heavily leans on “Plaintiff alleges this harassment is related to
his pending EEOC claims.” And that this, somehow, shields Defendant from any and all crimes he commits
against Plaintiff from being tried before any tribunal other than the EEOC. The EEOC claim along with Plaintiff
finding and reporting dangers, frauds, and not going along with the frauds are mentioned—not for adjudication
but as reasons for the retaliation targeting of Plaintiff. Plaintiff filed for an Injunction Against Harassment as
remedy because Defendant was caught by a co-worker stalking Plaintiff under elements of 18USC 2261A. If
Defendant stalked Plaintiff holding a satchel of money and ran him down from behind—snatching the money
‘and running off or stabbed or murdered Plaintiff. And someone called the police who caught Defendant (just as
he was caught stalking Plaintiff's home); it would be ridiculous for Counsel to argue that because Plaintiff has
“pending EEOC claims” against Defendant that these 18USC offenses can only be handled—not by the Court, but
by an EEOC which is not only un-equipped to handle such crimes but is too slow moving to provide immediate

protection for the safety of Plaintiff and public safety of others. So it is with Counsel’s argument here.

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This also has Constitutional denial of equal protection violations and implications as it is based entirely

on Plaintiff's race and is clearly a defense unavailable against a white—non protected class Plaintiff.

Counsel attempted to ‘big foot’ the EEOC process by inserting the U.S. Attorney’s Office along with the
DOI Solicitor’s Office into the EEOC case—attempting to pressure Plaintiff to make a deal for some “universal
solution” in exchange for dropping Plaintiff's equal protection right before this Court “without prejudice” if
Plaintiff agreed to pursue the stalking before the EEOC. Then, if that was unsatisfying, to return to this Court.

Respectfully, Plaintiff clearly declined.
Your Honor, Counsel would not have offered to return this case to this Court if there was no case.

You Honor, it is hoped that this Court recognizes that even this non-lawyer, Pro-se Plaintiff has
demonstrated enough evidence —cause and doubt which compels that Motion to Dismiss should be Denied. And
that this case should move forward to a full hearing/trial where Defendant’s rights will still be protected. Where
Defendant can defend himself against multiple charges of felony perjury. And where Counsel can still have the

Opportunity to ultimately prove his case. And where Justice can be found before a Finder of Fact.

Your Honor, please—in the interest of Justice and public safety Deny Motion to Dismiss and set a date
for a hearing/trial which will allow Plaintiff to secure professional legal counsel, depose witnesses, document

production, and justly prove Defendant’s (and others’) Motive enroute to securing righteous Injunction remedy.

Thank You, Your Honor.

Safety Health’& Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-9727

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EXHIBIT X-1

EXHIBIT X-1

HOLY DOVE CHAPEL 60 MINS FROM GRCA

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EXHIBIT X-1

HOLY DOVE CHAPEL 60 MINS FROM GRCA

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EXHIBIT X-2
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EXHIBIT X-3
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EXHIBIT X-4
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8/11/2019 DEPARTMENT OF THE INTERIOR Mail - Rights and Responsibilities Notification

Stephenson, Elston <elston_stephenson@nps.gov>

Rights and Responsibilities Notification

Smeck, Woody <woody_smeck@nps.gov> Fri, Jul 26, 2019 at 4:13 PM
To: Elston Stephenson <elstan_stephenson@nps.gov>

Elsion,

As we discussed today, | have entered your complaint into the DO16E Anti-Harassment Tracking System. The complaint
has been transmitted to the Regional HPOC for processing.

Attached please review and sign the Notification of Rights and Responsibilities Statement. | will need your signature on
the Notification today if possible, or no later than Monday moming when we meet at 8am in my office.

Thank you for your time today.

Woody Smeck

Acting Superintendent
Grand Canyon National Park
P.O. Bax 129

Grand Canyon, AZ 86023

(928) 638-7945 office
(559) 788-9247 mobile

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NATIONAL PARK SERVICE
HARASSING CONDUCT ALLEGATION ACKNOWLEDGEMENT FORM
NOTIFICATION OF RIGHTS AND RESPONSIBILITIES |

Employees who believe they have been subjected to harassing conduct have the right to:

1. Report the maticr immediately to any NPS superisor or manayerment official, any employee
relations specialist. or the Office of Inspector General:

2. In addition to filing # report. they also have additional avenues for individual relief and
remudics and access to non-filing support options:

3. Present and pursue the allegation of harassing conduct free from restraint. interference.
coercion. harassment. and reprisal:

4. Wave their allegations taken seriously and handled appropriately,
Employees reparting harassing conduct have the cesponsibility to:

1, Fully cooperate with the presentation of information. to tnclude scheduling of interviews or
meetings, responding lo correspondence, and providine requested material or information. in
the processing of their allegations of harassing conduct.

2, Keepthe Agency informed of their contact information.

3. Notify NPS of any questions or concerns about the Anti-I lamssiment Process.

J understand my rights and responsibilities. I have been given a copy of RM-16E which explains,
among other things, other, ne for relief and support.

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Em Sis Sains i Conduct Date Unit

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8/11/2019 DEPARTMENT OF THE INTERIOR Mail - Harassing Conduct Complaint Receipt
a > Stephenson, Elston <elston_stephenson@nps.gov>
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ralet (S| ong

Harassing Conduct Complaint Receipt
Anti-Harassment Tracking <anti_harassment_tracking@mailer.ite.nps.gov> Fri, Jul 26, 2019 at 4:15 PM

Reply-To: anti_harassment_tracking@mailer.itc.nps.gov
To: elston_stephenson@nps.gov

Greetings,

This email serves as a receipt that a harassing conduct complaint was submitted, and assigned to
the appropriate representatives. We at the National Park Service take discrimination and
harassment very seriously. We appreciate your due diligence as a National Park Service
employee. If the National Park Service employee relations or other designated official has any
questions or clarification about this complaint, they will contact you directly.

Complaint/Case Information Summary:

Case Subject: Intermountain Region-GRCA-Race
Case Number: 868

Date Submitted: 07/26/2019.

NATIONAL PARK SERVICE
HARASSING CONDUCT ALLEGATION ACKNOWLEDGEMENT FORM NOTIFICATION OF
RIGHTS AND RESPONSIBILITIES

Employees who believe they have been subjected to harassing conduct have the right to:

1. Report the matter immediately to any NPS supervisor or management official, any
employee relations specialist, or the Office of Inspector General;

2, In addition to filing a report, they also have additional avenues for individual relief
and remedies and access to non-filing support options (see below),

3. Present and pursue the allegation of harassing conduct free from restraint,
interference, coercion, harassment, and reprisal (see below);

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8/11/2019 DEPARTMENT OF THE INTERIOR Mail - Harassing Conduct Complaint Receipt

4, Prompt notification upon completion of the anti-harassment process that the fact-finding
has been completed but will not receive a copy of the resulting report or information about
any disciplinary actions taken against any other employees(in accordance with RM 16E
Section (2}(10));

5. Have their allegations taken seriously and handled appropriately.

Employees alleging harassment have the responsibility to:

1. Fully cooperate with the presentation of information, to include scheduling of interviews

or meetings, responding to correspondence, and providing requested material or information,
in the processing of their allegations of harassing conduct.

2. Keep the Agency informed of their contact information.

3. Notify NPS of any questions or concerns about the Anti-Harassment Process.

What you need to know about retaliation.

A manager or supervisor may not fire, demote, harass, or otherwise take any personnel action
against an individual for reporting an allegation of misconduct under this policy. Retaliation
might deter a reasonable person from opposing prohibited activities and discrimination,
providing information about an allegation, or participating in an established complaint process.
Protected activity under this policy could include reporting alleged misconduct, being a
witness in an inquiry or investigation, complaint, or lawsuit, communicating with a supervisor
or manager about employment discrimination or harassment, resisting sexual advances or
harassing behavior from a supervisor or manager, or intervening to protect others who may
have suffered discrimination. Participating in a complaint process is protected from retaliation
under all circumstances.

Engaging in protected activity under this policy does not shield an employee from all
personnel actions. Supervisors and managers can take personnel actions, including discipline
and removal, if they are motivated by non-retaliatory and non-discriminatory reasons that
would otherwise result in such consequences (e.g., transferring an employee for legitimate
business reasons, closely monitoring the performance of an employee who is having
performance issues). \

The following are examples of personnel actions that would be unlawful retaliation if they
were taken because of, or were motivated by, an employee’s protected activity:

e Transferring the complainant or witness against his or her will;
e Ignoring or not communicating with the complainant or witness;

e Changing work assignments of the complainant or witness without a valid work-related
rationale;
e Withholding work-related information from the complainant or witness;

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DEPARTMENT OF THE INTERIOR Mail - Harassing Conduct Complaint Receipt

e Disciplining the employee or giving a performance evaluation that is lower than it should be

based on the employee’s actual work performance;
e Engaging in verbal or physical abuse or other activities prohibited by this policy;

« Threatening to make, or actually making reports to authorities without a valid reason; and

Increased scrutiny of work performance or conduct.

Additional Avenues for Relief or Remedies

DO16E is designed to stop harassing conduct that has occurred as soon as possible and to
deter its occurrence in the future. However, corrective action under DO 16E does not
provide the remedies (e.g., compensatory damages) that may be available through the EEO,
grievance, or other processes,

If you believe you have experienced harassing conduct and want to seek relief or remedies, you
should know that filing a report under 16E does not satisfy the requirements for filing an EEO
complaint, negotiated grievance, or other procedure and obtaining remedies pursuant to them.
Nor does it delay the time limits for initiating those procedures. If you wish to pursue statutory,
administrative, or collective bargaining remedies for unlawful harassment, the following
avenues are available.

For an EEO complaint pursuant_to 29 C.F.R. § 1614 (available for all claims of
illegal harassment other than those based on status as a parent, marital status and political
affiliation), contact an EEO counselor in the NPS’s Equal Employment Opportunity
Offices within 45 days from the most recent incident of alleged harassment (or personnel
action, if one is involved), as required in 29 C.F.R. § 1614.105(a)(1).

For a negotiated grievance claim, contact your local union representative to file a
grievance in accordance with the provisions of the applicable Collective Bargaining

Agreement. .

For an administrative grievance claim, file a written grievance in accordance with
the provisions of 370 DM 771, Administrative Grievance Procedures. For more
information, ask your Employee Relations Specialist.

For an appeal to the Office of Special Counsel (OSC) regarding claims of harassment
related to marital status and political affiliation, pursuant to 5 U.S.C. §2302(b)(1) and
(b)(10), you may file a written appeal with the OSC as described in 5 C.F.R. §1800.1
and on WWW.OSC.gOV,

For an appeal to the Merit Systems Protection Board_pursuant to 5 C.F.R. §
1201.22, file a written appeal with the Board within 30 days of the effective date of an
appealable adverse action as defined in 5 C.F.R. § 1201.3, or within 30 days of the date
of receipt of the agency’s decision, whichever is later.

Additional Support Resources Available To Employees

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8/11/2019 DEPARTMENT OF THE INTERIOR Mail - Harassing Conduct Complaint Receipt

Experiencing harassing conduct can be a very serious, somber, and perhaps emotional
experience. Employees who have experienced harassing conduct have multiple resources
available that can provide assistance and advice, including:

e. Speaking with the Ombuds

Scott Deyo, 844-288-7046 (toll free),  scott_deyo@contractor.nps.gov
Sigal Shoham, 644-775-7726 (toll free), sigal_shoham@ios.doi.gov

or consulting with or engaging in alternative dispute resolution procedures through
a
CORE PLUS neutral;

Employees are encouraged to contact the Ombuds or other CORE PLUS neutrals
to discuss any workplace related concerns, including those related to harassing
conduct. An Ombuds 1s impartial, informal, and confidential resource that works
independently from management’s chain of command to explore and aid in the
resolution of individual and systemic issues affecting an organization.
Conversations with Ombuds and other CORE PLUS neutrals are confidential and
informal, and provide the employee a safe place to explore options for addressing
their concerns. Ombuds and CORE PLUS neutrals are not obliged to report
discussions (outside of imminent risk of harm), and as a result, engaging with an
Ombuds or other CORE PLUS neutral does not constitute a report under this
policy.

e Engaging the services provided by the Employee Assistance Program, call (800) 869-0276
or go to espyr.com, login: interioreap;

e Consulting with a union representative, if covered by a bargaining unit

e Informal networks and support available through the various Employee Resource Groups

Engaging with these resources does not constitute a report under this policy, as these
entities do not have an obligation to inform management of allegations of harassing conduct.

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For more information on the National Park Service Anti-Harassment Policy, select here for the Reference Manual
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Y% OFFICE OF
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J U.S.DEPARTMENT OF THE INTERIOR

UNFOUNDED ALLEGATIONS OF
IMPROPER LEADERSHIP DECISIONS
AND HOSTILE WORK ENVIRONMENT
AT GRAND CANYON NATIONAL PARK

This is a revised version of the report prepared for public release.

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SYNOPSIS

We investigated allegations that Grand Canyon National Park (GRCA) Superintendent Christine
Lehnertz proposed a |-day suspension for a GRCA senior official for an improper purpose; that
she created a hostile work environment and engaged in bullying and retaliatory behavior against
senior leaders, particularly male leaders, at the GRCA; and that she wasted nearly $180,000 in
renovations to a park residence.

We found that Lehnertz legitimately proposed a |-day suspension for the GRCA senior official
for “Failure to Follow Supervisory Instruction” because the official did not provide Lehnertz a
copy of an Employee Performance Appraisal Plan (EPAP) for one of his subordinate employees,
despite multiple requests; did not provide written reports as requested by Lehnertz related to a
high-priority initiative at the GRCA; and did not attend a scheduled meeting related to that
initiative.

We found no evidence that Lehnertz created a hostile work environment or that she wasted
nearly $180,000 in unnecessary renovations to a park residence,

We provided this report to the National Park Service Deputy Director Exercising the Authority
of Director for any action deemed appropriate.

DETAILS OF INVESTIGATION

We investigated allegations that questioned Grand Canyon National Park (GRCA)
Superintendent Christine Lehnertz’ leadership at the GRCA. The allegations stated that Lehnertz:

e Proposed a |-day suspension for a GRCA senior official for an improper purpose

* Created a hostile work environment and engaged in bullying and retaliatory behavior
against senior leaders, particularly male leaders, at the GRCA

e Wasted nearly $180,000 in renovations to a park residence

Lehnertz Proposed Suspension of a GRCA Senior Official for Legitimate Disciplinary
Reasons

We found that on August 31, 2018, Lehnertz proposed a 1-day suspension without pay against
the GRCA senior official for “Failure to Follow Supervisory Instruction.” According to
Lehnertz, the senior official did not:

I. Provide an employee performance appraisal plan (EPAP) for a subordinate employee as
requested '

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2. Provide Lehnertz written progress reports regarding a high-priority park initiative as
directed

3. Attend a required meeting to discuss development options for the initiative or request
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approved leave
The Senior Official Did Not Provide an EPAP for a Subordinate Employee as Requested

The GRCA hired the senior official’s subordinate employee on June 25, 2017, with a l-year
probationary period, The employee initially reported to Lehnertz but was transferred under the
senior official’s supervision in September 2017, Lehnertz said that at that time, she told the
senior official he needed to complete a performance review and create an EPAP for the
subordinate employee.

The DOI Performance Management System (370 DM 430) requires that a supervisor establish a
subordinate’s EPAP within 60 days of the beginning of the appraisal period, the employee’s
entrance on duty, the assignment of an employee to a new position, the assignment of an
employee to a new or different supervisory position, or the assignment of an employee to a detail
or temporary promotion scheduled to exceed 120 days.

Lehnertz said she asked the senior official for a copy of the subordinate employee’s EPAP
during meetings on June 25, 2018, and June 29, 2018, and by email and text message on July 2,
2018. Lehnertz said the senior official responded to each of her requests that he had an EPAP for
the employee.

In the July 2 email, Lehnertz asked the senior official to provide her a copy of the signed EPAP
“first thing this morning.” Lehnertz said the senior official told her he was “working on it,” but
the signed EPAP was not on her desk when she arrived at the office on July 3, Later that day,
Lehnertz asked the senior official again in an email if he had a signed EPAP for the subordinate
employee.

The senior official responded to Lehnertz on July 6, stating, “After further review, I do not have
a signed EPAP [for the employee]. . . . In our discussions, | was sure that I had one signed. .. . [
was quite sure I had him sign the EPAP developed. Yes Chris, you did direct me to provide you
a copy of a signed EPAP. My apologies for not complying with your directive.”

On July 10, 2018, Lehnertz emailed an NPS regional manager stating she (Lehnertz) needed to
take a disciplinary action against the senior official because he was not truthful about the signed
EPAP. Later that same day, the senior official emailed the NPS regional manager, stating his
belief that Lehnertz had lost objectivity regarding the subordinate employee.

The NPS regional manager said she talked to the senior official in July 2018 and told him to sign
an EPAP for the subordinate employee immediately and that Lehnertz could hold the senior
official accountable if the subordinate employee did not have a signed EPAP. According to the
NPS regional manager, the senior official never completed the EPAP in response to Lehnertz’
requests. 3

The Senior Official Did Not Provide Lehnertz Written Progress Reports Regarding a High-
Priority Park Initiative

Lehnertz said developing this high-priority initiative was important not only to the GRCA but
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also to the NPS. She said she assigned the senior official to lead the initiative in November 2017
and authorized and directed him to work with human resources to hire someone to fill a l-year
detail to help him develop it.

Lehnertz said that in February 2018, she had not seen any progress on the initiative, so she told
the senior official they needed to meet every Monday to discuss the status. In addition, Lehnertz
requested that the senior official provide her with written progress reports each week when they
could not meet in person. Lehnertz said that over the next several weeks and months, the senior
official inaccurately represented that the initiative was moving forward and that he did not
complete the written reports as directed. Lehnertz said the senior official did not provide written
reports on seven or eight dates; the Notice of Proposed Suspension listed February 5, 2018; April
2, 2018; April 9, 2018; April 16, 2018; April 30, 2018; May 14, 2018; June 25, 2018; and July
23, 2018.

According to Lehnertz, because the senior official did not make progress on developing the
initiative, she hired an NPS regional director on a detail to the GRCA in September 2018 to
develop it.

The Senior Official Did Not Attend a Required Meeting or Request Approved Leave

On May 16, 2018, Lehnertz emailed the senior official stating that he had not completed progress
reports for the initiative for May 7 and May 14. She directed him to prepare to discuss options
for development at their next regularly scheduled meeting on May 21. According to Lehnertz,
the senior official did not attend the meeting, so she emailed him on May 22 stating that he did
not attend the scheduled meeting and did not send her any text messages, voicemails, or emails
regarding his absence. Lehnertz also wrote that the senior official must submit written updates to
her and asked him how she could help or if there were barriers in their communication and
understanding. The senior official did not reply to Lehnertz’ email. Lehnertz stated that when she
talked to the senior official about his absence from the May 21 meeting, he said, “I don’t recall
that.”

Lehnert: Proposed a !-Day Suspension for the Senior Official

In August 2018, Lehnertz discussed her concerns about the senior official with a GRCA human
resources specialist. The human resources specialist provided Lehnertz three different notices,
with discipline ranging from a written reprimand to a 3-day suspension.

Lehnertz said that before taking action against the senior official, she met with the senior official
on August 31, 2018, to give him an opportunity to explain his actions related to his subordinate
employee’s EPAP and progress reports for the high-priority initiative. According to Lehnertz, the
senior official said he had not completed the EPAP because he did not think it was his
responsibility. Consistent with the advice the NRS regional manager had provided to the senior
official in early July, Lehnertz said she reminded the senior official that the standard’supervisory
element of his performance plan required him to complete an EPAP for each of his subordinate
employees. We found that the senior official’s 2017 EPAP stipulated that he communicate
performance standards that reflect job requirements to subordinates, give appraisals in a timely
manner, and establish performance plans for the current year according to human resources
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guidance,

Lehnertz said the senior official also told her he did not provide updates for the initiative because
he did not think the GRCA needed it.

Based on the senior official’s responses during the August 31 discussion, Lehnertz said she
decided to propose a |-day suspension for the senior official. .

The Senior Official’s Response to the Proposed Suspension

On October3, 2018, the senior official met with an NPS regional director to orally respond to the
proposed suspension. According to the regional director, the senior official said he did not
provide a signed EPAP for his subordinate employee to Lehnertz because he believed Lehnertz
would use the EPAP to terminate the employee. During his oral response, the senior official said,
“| did not, would not, and will not, provide it to her so that she can use it as a weapon.”

The senior official also told the regional director that he had reported his concerns about
Lehnertz’ requests for the EPAP to the U.S, Office of Special Counsel (OSC), According to the
senior official, Lehnertz proposed the |-day suspension because the senior official did not
provide the EPAP to further the subordinate employee’s termination. The senior official
provided us copies of two OSC pre-determination letters, dated October 10 and October 15,
2018. In both letters, the OSC determined that an order to prepare an EPAP would not require
the senior official to violate a law because it is routine for supervisors to prepare such
documents. The letters also stated it was speculation by the senior official that Lehnertz would
use the EPAP for an improper purpose. In each of the two letters, the OSC made a preliminary
determination to close its inquiry into the senior official’s complaint.

When we interviewed the senior official, he confirmed that Lehnertz had asked him for his
subordinate employee’s EPAP in June 2018. He said he initially told her he had it, but later told
her he did not. The senior official stated he did not want to give the EPAP to Lehnertz because
he thought Lehnertz would use the EPAP to terminate the subordinate employee.

We also asked the senior official about the progress reports for the high-priority initiative. The
senior official told us he had previously admitted to the NPS regional director that he provided
verbal updates but did not always provide the written reports to Lehnertz as directed, When
asked why he did not provide the reports, the senior official replied, “I just didn’t get to them at
the time of the meeting.”

Finally, in his oral response to the proposed suspension, the senior official stated his calendar
indicated he was in Flagstaff, AZ, on May 21, 2018, at an annual review for the concessioners
and that Lehnertz’ calendar did not have any appointments scheduled for that date. The senior
official said he did not recall if he took leave that day. When we asked the senior official about
this meeting, he stated, “I’m still confused of the date, the circumstance of what may or may not
have happened.” The senior official later provided a copy of his calendar for May 21, 2018, .
which showed a meeting scheduled at 4:00 p.m. for updates related to the initiative in “Chris’s
Office.”
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We confirmed that the senior official was not on leave on May 21, 2018, and that he claimed 8
regular work hours on that day.

Lehnertz Did Not Create a Hostile Work Environment at the GRCA

We interviewed 20 GRCA employees who worked directly with Lehnertz. Of those 20
employees, 15 were senior managers and 5 were nonsupervisory employees. Most of the
employees indicated that Lehnertz was generally liked at the park and reported that Lehnertz did
not treat men or women differently and held everyone to the same standard,

During our interviews, five employees—four managers and one nonsupervisory employee—
expressed they had encountered differences and conflict with Lehnertz on occasion. Despite
these occasions, four of these five employees identified positive aspects of Lehnertz’ leadership
and acknowledged that she championed an “inclusive and respectful” environment. The fifth
employee stated that she had expressed concerns about her first-level supervisor to GRCA
management and said the way Lehnertz handled her concerns caused her to mistrust GRCA
management. Some managers observed that Lehnertz “drilled down” for information, explaining
that she continuously asked questions to gather information if the presenter seemed ill-prepared
or provided incorrect information, which made them feel “intimidated” at times.

Lehnertz said a colleague from the Pacific West Region made her aware that when she drilled-
down for information, it felt like an accusation, rather than an inquiry. She added that a manager
at the GRCA felt nervous when she asked many detailed questions. Lehnertz said that instead of
discussing it with the manager individually, she discussed her management style with the GRCA
management team and conveyed that “when I’m really getting into something, [’m gonna ask
more and more detailed questions. And that it’s okay to say, ‘I don’t have that information, but
Ill get it.”” Lehnertz added that one of her personality traits is to drill “really deep on a question”
when she is stressed and that she told the GRCA management team that she would try to “check”
herself.

Lehnertz Did Not Authorize Unnecessary Renovations to a Park Residence

On July 20, 2017, Lehnertz emailed GRCA managers informing them that she had toured the
residence at 45 Kaibab Street in preparation for advertising the position for a deputy
superintendent for operations. In the email, Lehnertz stated the home would be an important
recruitment tool for the position. Lehnertz listed 19 deficiencies that she had identified during
her walk-through, ranging from smaller issues like removing a coat rack in the entry hall, to
larger projects like updating the kitchen and removing al! carpet from the house. Lehnertz said
that after informing the managers of the deficiencies, she was no longer involved in the
renovations, except to request that the GRCA architect assist with the kitchen redesign,

An NPS housing official told us he managed the.renovation project, to include resources,
materials, personnel, and budget, and he did not have to obtain higher supervisory, approval. The
housing official said he inspected the house after the previous occupant moved out and made a
list of necessary renovations. He recalled that Lehnertz’ July 20 email included a list of updates
for the house and that it instructed the housing official to coordinate with another NPS manager,
who was on detail assignment. The housing official said most of the items referenced in
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Lehnertz’ email] matched the list he had generated.

The housing official said he did not receive any further direction from Lehnertz about the
renovation after receiving the July 20 email, He said he provided weekly status reports to
management, which included Lehnertz, about all maintenance projects. He said neither the
incoming deputy superintendent nor Lehnertz attempted to direct him to complete any aspect of
the renovation.

According to the housing official, the renovation at 45 Kaibab Street began in August 2017 and
ended in April 2018. He explained that the renovation took longer than anticipated because of
unexpected safety issues, such as out-of-code electrical wiring, an underrated circuit breaker box,
no fire alarm system, structural issues, and a sagging roof and doorways. The housing official
estimated the house was built in 1978, and said it appeared to have been built in stages because
one side of the house was heated with a propane furnace and the other was heated by electric
baseboards. He said he used his staff, trail personnel (for landscape work), an electrician, and a
seasonal carpenter (former NPS employee) to complete the renovation. The housing official
provided documentation showing that the labor costs for the renovation were $135,192.83 and
the cost of materials was $30,733.07, for a total renovation cost of $165,925.90.

When asked, the housing official told us that the renovations to 45 Kaibab Street impacted his
employees’ ability to work on other houses. He explained that he tried to keep the number of
vacant homes below 35, and that when this renovation was completed, the number of vacant
homes totaled approximately 50, The housing official noted, however, that because of the
number of vacancies and hiring problems at the GRCA, he did not recall employees contacting
him about needing a house during that time,

A GRCA maintenance employee, who worked directly on the housing project, told us that 45
Kaibab Street was “decent” and “livable” before the renovations, but he noted that after the
renovations began, the maintenance crew found structural damage that needed repair. The
maintenance employee said the renovations were needed to replace original work that had been
completed in 1972. The renovations included installing a new kitchen, hardwood floors
throughout the house, new stairs, vanities in two of the three bathrooms, and new toilets and tiles
in all three bathrooms, and replacing the wiring throughout the house. He said the work also
included opening the walls and ceiling in the kitchen, during which they identified and repaired
structural deficiencies. The maintenance employee said all renovations were needed and none
were unusual. He added that the costs were reasonable based on the work performed.

SUBJECT
Christine Lehnertz, Superintendent, Grand Canyon National Park, National Park Service.

DISPOSI TION

We provided this report to the National Park Service Deputy Director Exercising the Authority
of Director for any action deemed appropriate.
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